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 5
     Attorney for Defendant,
 6   ERETZANDERT MORALES-LOZANO
 7

 8                   IN THE UNITED STATES DISTRICT COURT
 9                 EASTERN DISTRICT OF CALIFORNIA, FRESNO
10
     UNITED STATES OF AMERICA,           ) Case No.: 1:12-CR-00130 AWI
11                                       )
                 Plaintiff,              )
12                                       ) STIPULATION AND ORDER
           vs.                           ) ADVANCING SENTENCING HEARING
13                                       ) DATE
                                         )
14   ERETZANDERT MORALES-LOZANO,         )
                                         ) DATE: March 4, 2013
15               Defendant.              ) TIME: 10:00 a.m.
                                         ) Hon. Anthony W. Ishii
16

17         IT IS HEREBY STIPULATED by and between the parties hereto
18   through their respective counsel that the sentencing hearing
19   in the above captioned matter now set for Monday, March 4,
20   2013, be advanced to Monday, February 4, 2013, at 10:00 a.m.
21   This request is made by both counsel with the intention of
22   conserving time and resources for both parties and the court.
23   ///
24   ///
25   ///
26   ///
27   ///
28   ///
                                          - 1 -
             Stipulation and [Proposed] Order to Advance Sentencing Hearing
                               CASE NO.: 1:11-CR-00130 AWI
                           Case 1:12-cr-00130-AWI-BAM Document 101 Filed 01/30/13 Page 2 of 2


 1
                                                               Respectfully submitted,
 2
                                                               BENJAMIN B. WAGNER
 3                                                             United States Attorney
 4
     DATED: January 29, 2013                                   /s/Christopher D. Baker__
 5                                                             CHRISTOPHER D. BAKER
                                                               Assistant United States Attorney
 6

 7
     DATED: January 29, 2013                                   /s/ Anthony P. Capozzi
 8                                                             ANTHONY P. CAPOZZI
 9
                                                               Attorney for Defendant
                                                               ERETZANDERT MORALES-LOZANO
10

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14
                                                            ORDER
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16
                              IT IS SO ORDERED.       Based upon the stipulation of the
17
     parties and good cause appearing therefor, it is hereby
18
     ORDERED that the date of the sentencing hearing of the
19
     defendant in the above-entitled case be advanced from Monday,
20
     March 4, 2013, at 10:00 a.m. to Monday, February 4, 2013, at
21
     10:00 a.m.
22

23

24   IT IS SO ORDERED.
25
     Dated: January 29, 2013
26   DEAC_Signature-END:
                                                          SENIOR DISTRICT JUDGE
27
     0m8i788
28

                                                              - 2 -
                                 Stipulation and [Proposed] Order to Advance Sentencing Hearing
                                                   CASE NO.: 1:11-CR-00130 AWI
